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 Attorneys for Software Technology Group, Inc.




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION

RAY KLEIN, INC., dba PROFESSIONAL                     Case No. 3:19-cv-02090-HZ
CREDIT SERVICE,
                                                      STIPULATED JUDGMENT OF
                Plaintiff,                            DISMISSAL OF ACTION WITH
                                                      PREJUDICE
       v.

OVIO TECHNOLOGIES, INC.,

                Defendant and Third-Party
                Plaintiff

       v.

SOFTWARE TECHNOLOGY GROUP,
INC., an Oregon corporation,

                Third-Party Defendant.



       Based upon the stipulation below, and the Court being fully advised herein:

       IT IS HEREBY ORDERED AND ADJUDGED, pursuant to Fed. R. Civ. P. 41(a)(1)(ii)
4822-0946-0171.1
  STIPULATED JUDGMENT OF DISMISSAL OF ACTION WITH PREJUDICE        LEWIS BRISBOIS BISGAARD & SMITH LLP
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and Fed. R. Civ. P. 41(a)(2), that this action—including all claims, counterclaims, third-party

claims and affirmative defenses—are dismissed in their entirety, with prejudice, and without

costs or fees to any party.


DATED:        October 9, 2020




                                                                 Hon. Marco A. Hernández
                                                                 U.S. District Court Judge




IT IS SO STIPULATED:


DATED:         10/05/20                                                  /s/ Justin E. Murphy
                                                                 Justin E. Murphy, OSB #195532
                                                                 jmurphy@professionalcredit.com
                                                                 Attorneys for Plaintiff Ray Klein,
                                                                 Inc. dba Professional Credit Service



DATED:         10/05/20                                                  /s/ Clifford S. Davidson
                                                                 Clifford S. Davidson, OSB #125378
                                                                 csdavidson@swlaw.com
                                                                 Attorneys for Defendant/Third-Party
                                                                 Plaintiff oVio Technologies, Inc.



DATED:         10/05/20                                                 /s/ David C. Campbell
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                                                                 Software Technology Group, Inc.




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